Use TabCase
        key1:21-cr-00104-RJL
            to move from fieldDocument
                               to field on
                                         42this form.
                                             Filed 03/27/23 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-cr-00104-RJL


KLETE DERIK KELLER
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Zachary A. Deubler (D.C. Bar No: 1615063)
                                                        (Attorney & Bar ID Number)
                                          Carmichael Ellis & Brock, PLLC
                                                               (Firm Name)

                                          108 N. Alfred Street, 1st Floor
                                                             (Street Address)

                                          Alexandria, Va. 22314
                                           (City)               (State)          (Zip)

                                          703.684.7908
                                                           (Telephone Number)
